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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                              :
ADRIAN SINGLETON, et al.
                                              :

      v.                                      :    Civil Action No. DKC 11-1823

                                              :
DOMINO’S PIZZA, LLC
                                              :

                                         ORDER

      For       the   reasons    set    forth      in    the       foregoing     Memorandum

Opinion, it is this 2nd day of October, 2013, ORDERED that:

      1.        The   Motion    for    Final      Approval        of    the    Class    Action

Settlement BE, and the same hereby IS, GRANTED;

      2.        Class    membership     in     the   Settlement          Classes       defined

below shall be limited to natural persons residing in the United

States     or     its    territories,        shall      be       determined     based    upon

Defendant’s records, and shall exclude the following: the seven

individuals who timely opted out of the Settlement Classes and

who      are      identified      in     Exhibit             C     to    the     Settlement

Administrator’s          Declaration     (ECF      No.    78,      at   19);    Defendant’s

attorneys; Plaintiffs’ attorneys; and persons encompassed by 15

U.S.C.     §§    4861b(b)(2)(C)(i)        and/or         1681      b(b)(3)(C)(i).         The

Settlement Classes defined below BE, and the same hereby ARE,

FINALLY CERTIFIED pursuant to Fed.R.Civ.P. 23(a) & 23(b)(3) for

settlement purposes only, as a class action on behalf of the
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Settlement Classes with respect to the claims asserted in the

lawsuit;

        a. The “Applicant Class” shall include all applicants for

employment with Domino’s who executed a Background Investigation

and Consent Form containing a liability release, and for whom,

on the basis of such form, Domino’s procured or caused to be

procured one or more pre-employment consumer reports, as defined

by FCRA, between July 1, 2009 and April 30, 2013, inclusive;

        b.    The     “Multiple   MVR   Check   Class”   shall      include     all

Domino’s employees for whom, between July 1, 2009 and April 30,

2013, inclusive, but prior to such persons’ executing any FCRA

disclosure and consent form that did not contain a liability

release, Domino’s procured or caused to be procured during their

employment a consumer report containing motor vehicle records

based        upon     a   Background    Investigation    and       Consent     Form

containing a liability release (each such report shall be a

“Claimable MVR Check”); and

        c. The “Adverse Action Class” shall include all Domino’s

applicants or employees subjected by Domino’s between July 1,

2009 and April 30, 2013, inclusive, to an adverse employment

action (as defined by the FCRA) for whom, in advance of such

action,       a     pre-adverse   action   notice   and/or     a   copy   of    the

consumer report based upon which the adverse notice was taken

was not sent by Domino’s;

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     3.      The    Amended     Settlement      Agreement     BE,     and    the    same

hereby IS, APPROVED as fair, reasonable, and adequate within the

meaning     of      Fed.R.Civ.P.       23(e).         The    Amended        Settlement

Agreement,       filed   on    May   10,   2013   (ECF      No.    67-1),    shall    be

consummated in accordance with the terms and provisions thereof,

except as amended by this Order.                  The material terms of the

Amended Settlement Agreement (ECF No. 67-1) include but are not

limited to the following:

     a.     Defendant shall contribute or cause to be contributed

by wire transfer to the Settlement Administrator $2,500,000 to a

Settlement Fund, to be distributed pro rata, payable by check,

to   Plaintiffs       who     timely   returned       properly-completed           Claim

Forms, with members of the Applicant Class and Adverse Action

Class to receive a single proportionate share of the Settlement

Fund for each such Settlement Class of which they are a member.

Members of the Multiple MVR Check Class are to receive as many

proportionate shares of the Settlement Fund as the number of

Claimable     MVR     Checks    performed       for   such        Plaintiffs.        For

purposes of the pro rata calculation, shares in the Applicant

Class and Adverse Action Class shall be weighted at 1.25 times

each share of Multiple MVR Check Class.                Recovery for members of

the Applicant Class and Adverse Action Class shall be capped at

$250 per Plaintiff, and recovery for members of the Multiple MVR

Check Class shall be capped at $200 per Claimable MVR Check;

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       b.    The     Settlement           Administrator        is     authorized          to

recalculate        the     pro     rata    distribution      to      claimants         after

deducting     the        amounts    approved     below      for     attorneys’         fees,

litigation         expenses,        two      incentive       fees,        and       claims

administration fees.               Checks to Settlement Class members for

their pro rata shares of the Settlement Fund shall be mailed in

accordance       with      the     deadlines     established        in    the      Amended

Settlement     Agreement.            Any    excess     funds      remaining       in     the

Settlement    Fund        after     all    distributions       have      been    made     in

accordance with the Amended Settlement Agreement and this Order

shall be divided equally between Defendant and the following two

cy   pres   charitable       donations:        (i)    the   Center    for       Employment

Opportunities; and (ii) St. Jude’s Children’s Hospital;

       4. For purposes of this Order and all matters relating to

the Settlement of this Action:

       a. Adrian Singleton and Justin D’Heilly BE, and the same

hereby ARE, FINALLY APPOINTED as Class Representatives;

       b. The law firm of Nichols Kaster, PLLP, BE, and the same

hereby IS, FINALLY APPOINTED as Class Counsel for the Settlement

Classes;

       c. Kurtzman Carson Consultants, LLC (“KCC”), BE, and the

same    hereby      IS,     FINALLY       APPOINTED    to    serve       as     Settlement

Administrator;



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     5. Pursuant to Fed.R.Civ.P. 23(h), Plaintiffs’ Motion for

Attorneys’ Fees, Litigation Expenses, Administrator Costs, and

Incentive    Awards   (ECF      No.    74)    BE,   and   the       same   hereby   IS,

GRANTED IN PART, with the Settlement Fund to be allocated as

follows:

     a. $625,000 in attorneys’ fees;

     b. $13,339.84 in litigation expenses;

     c.     $2,500    as   an     incentive         fee   to    Plaintiff         Adrian

     Singleton;

     d. $2,500 as an incentive fee to Plaintiff Justin D’Heilly;

     e. $89,208.63 in claims administration fees;

     6. This action BE, and the same hereby IS, DISMISSED WITH

PREJUDICE, although the court shall retain jurisdiction over the

interpretation,       enforcement,            and    implementation          of     the

Settlement Agreement and this Order; and

     7.      The   clerk   will       transmit      copies     of    the   Memorandum

Opinion and this Order to counsel for the parties, and CLOSE

this case.



                                                  /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge




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